Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 1 of 45 Page ID #:1



       SHOOP A PROFESSIONAL LAW CORPORATION
  1
       David R. Shoop, Esq., SBN 220576
  2    Thomas S. Alch, Esq., SBN 136860
       350 S. Beverly Drive
  3    Suite 330
  4    Beverly Hills, CA 90212
       Tel: (310) 277-1700
  5
      Attorneys for Plaintiffs
  6   and the class
  7                              UNITED STATES DISTRICT COURT
  8                            CENTRAL DISTRICT OF CALIFORNIA
       –––––––––––––––––––––––––––––––––––––––––               x
  9    Nicky Rivera, Balmore Prudencio, and Michelle           :
       Quintero, individually on behalf of themselves and all :
 10
       others similarly situated, and John Does (1-100) on     : Case No.
 11    behalf of themselves and all others similarly situated, :
                                                               :
 12                                    Plaintiffs,             :
 13                                                            :
                               -against-                       :       CLASS ACTION
 14                                                            :        COMPLAINT
                                                               :
 15
                                                               :  JURY TRIAL DEMANDED
       Midway Importing, Inc.,
 16                                                            :
                                                               :
 17                                       Defendant.
      –––––––––––––––––––––––––––––––––––––––––                x
 18

 19                  Plaintiffs Nicky Rivera, Balmore Prudencio, and Michelle Quintero
 20
      (hereinafter “Plaintiffs”), individually and on behalf of all others similarly situated, by
 21
      their attorneys, allege the following upon information and belief, except for those
 22

 23 allegations pertaining to Plaintiffs, which are based on personal knowledge:

 24                                  NATURE OF THE ACTION
 25
             1.      This action seeks to remedy the deceptive and misleading business practices
 26
      of Midway Importing, Inc. (hereinafter “Defendant”) with respect to the marketing and
 27

 28
                                                     1
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 2 of 45 Page ID #:2



      sales of the following Grisi product line (hereinafter the “Products”) throughout the States
  1

  2 of New York and California, and throughout the country:

  3               ● Grisi Regenerative Aloe Vera Natural Soap
  4
                  ● Grisi Balance Oat Natural Soap
  5
                  ● Grisi Lightening Mother of Peal Natural Soap
  6

  7               ● Grisi Moisturizer Donkey’s Milk Natural Soap
  8          2.      Defendant manufactures, sells, and distributes the Products using a
  9
      marketing and advertising campaign centered around claims that appeal to health-
 10
      conscious consumers, i.e., that its Products are “Natural”. However, Defendant’s
 11

 12 advertising and marketing campaign is false, deceptive, and misleading because the

 13 Products contain synthetic ingredients.

 14
             3.      Plaintiffs and those similarly situated (“Class Members”) relied on
 15
      Defendant’s misrepresentations that the Products are “Natural” when purchasing the
 16

 17 Products. Plaintiffs and Class Members paid a premium for the Products over and above

 18 comparable products that did not purport to be “Natural”. Given that Plaintiffs and Class

 19
      Members paid a premium for the Products based on Defendant’s misrepresentations that
 20
      they are “Natural”, Plaintiffs and Class Members suffered an injury in the amount of the
 21

 22 premium paid.

 23          4.      Defendant’s conduct violated and continues to violate, inter alia, California
 24
      Business Codes §§ 17200 and 1750, New York General Business Law §§ 349 and 350,
 25
      and the consumer protection statutes of the other 48 states. Defendant breached and
 26

 27 continues to breach its express and implied warranties regarding the Products. Defendant

 28
                                                    2
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 3 of 45 Page ID #:3



      has been and continues to be unjustly enriched. Accordingly, Plaintiffs bring this action
  1

  2 against Defendant on behalf of themselves and Class Members who purchased the

  3 Products during the applicable statute of limitations period (the “Class Period”).

  4
                                   JURISDICTION AND VENUE
  5
             5.     Jurisdiction is proper pursuant to 28 U.S.C. § 1332(d)(2).   Plaintiffs
  6

  7 Balmore Prudencio and Michelle Quintero are citizens of the State of California. Plaintiff

  8 Nicky Rivera is a resident of the State of New York. Defendant is a corporation with its
  9
      principal place of business in Houston, Texas, and is organized and exists under the laws
 10
      of the State of Texas. Upon information and belief, the amount in controversy is in excess
 11

 12 of $5,000,000, exclusive of interests and costs.

 13          6.     This Court has personal jurisdiction over Defendant because Defendant
 14
      conducts and transacts business in the State of California, contracts to supply goods within
 15
      the State of California, and supplies goods within the State of California. Some of the
 16

 17 transactions giving rise to this case occurred in California.

 18          7.     Venue is proper because Balmore Prudencio, Michelle Quintero, and many
 19
      Class Members reside in the Central District of California, and throughout the State of
 20
      California, and Defendant maintains offices in Santa Fe Springs, California.
 21

 22                                           PARTIES

 23 Plaintiffs

 24
             8.     Plaintiff Balmore Prudencio is an individual consumer, who, at all times
 25
      material hereto, was a resident of Orange County, California. During the class period, he
 26

 27 purchased the Products in California.

 28
                                                   3
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 4 of 45 Page ID #:4



             9.     Mr. Prudencio purchased the Products because he read the packaging, which
  1

  2 represented that the Products are “Natural”. Mr. Prudencio relied on the Defendant’s false,

  3 misleading, and deceptive representations that the Products are “Natural”. Had he known

  4
      the truth – that the representations he relied upon in making his purchase were false,
  5
      misleading, and deceptive – he would not have purchased the Products at a premium price.
  6

  7          10.    Plaintiff Michelle Quintero is an individual consumer, who, at all times

  8 material hereto, was a resident of Los Angeles County, California. During the class
  9
      period, she purchased the Products in California.
 10
             11.    Ms. Quintero purchased the Products because she read the packaging, which
 11

 12 represented that the Products are “Natural”. Ms. Quintero relied on the Defendant’s false,

 13 misleading, and deceptive representations that the Products are “Natural”. Had she known

 14
      the truth – that the representations she relied upon in making her purchase were false,
 15
      misleading, and deceptive – she would not have purchased the Products at a premium
 16

 17 price.

 18          12.    Plaintiff Nicky Rivera is an individual consumer, who, at all times material
 19
      hereto, was a resident of New York. During the class period, he purchased the Products at
 20
      a Stop & Shop in Duchess County, New York.
 21

 22          13.    Mr. Rivera purchased the Products because he read the packaging, which

 23 represented that the Products are “Natural”. Mr. Rivera relied on the Defendant’s false,

 24
      misleading, and deceptive representations that the Products are “Natural”. Had he known
 25
      the truth – that the representations he relied upon in making his purchase were false,
 26

 27 misleading, and deceptive – he would not have purchased the Products at a premium price.

 28
                                                    4
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 5 of 45 Page ID #:5



      Defendant
  1

  2         14.    Defendant is a corporation organized and existing under the laws of the State
  3 of Texas with its principal place of business in Houston, Texas. Defendant manufactures,

  4
      markets, advertises, and distributes products throughout the United States. Defendant
  5
      created and/or authorized the false, misleading, and deceptive advertisements, packaging,
  6

  7 and labeling for the Products.

  8         15.    Defendant’s target consumers are largely Hispanic. Defendant’s website
  9
      boasts: “Our mission here at Midway is to improve the lives of the United States Hispanic
 10
      consumer by providing the finest quality Hispanic Health & Beauty Care products on the
 11

 12 market.”

 13         16.    Midway describes its sales strategy in the following manner: “Midway
 14
      provides its suppliers and merchandisers with a comprehensive Hispanic HBC distribution
 15
      support strategy that includes marketing & promotions, direct sales merchandising,
 16

 17 distribution & logistics, and a full suite of leading Hispanic Health & Beauty Care

 18 products.”

 19
                                     FACTUAL BACKGROUND
 20
            17.    Consumers have become increasingly concerned about the effects of
 21

 22 synthetic and chemical ingredients in food, cleaning products, bath and beauty products

 23 and everyday household products. Companies such as the Defendant have capitalized on

 24
      consumers’ desire for purportedly “natural products.” Indeed, consumers are willing to
 25
      pay, and have paid, a premium for products branded “natural” over products that contain
 26

 27

 28
                                                  5
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 6 of 45 Page ID #:6



      synthetic ingredients. In 2015, sales of natural products grew 9.5% to $180 billion. 1
  1

  2 Reasonable consumers, including Plaintiffs and Class Members, value natural products for

  3 important reasons, including the belief that they are safer and healthier than alternative

  4
      products that are not represented as natural.
  5
               18.       Despite the Products containing a number of synthetic ingredients,
  6

  7 Defendant markets the Products as being “Natural”. The Products’ labeling is depicted

  8 below:
  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20
                                       Grisi Regenerative Aloe Vera Natural Soap
 21

 22
               1
 23               Natural Products Industry Sales up 9.5% to $180bn Says NBJ, FOOD NAVIGATOR, http://www.foodnavigator-
      usa.com/Markets/EXPO-WEST-trendspotting-organics-natural-claims/(page)/6; see also Shoshanna Delventhal, Study Shows
      Surge in Demand for “Natural” Products, INVESTOPEDIA (February 22, 2017),
 24   http://www.investopedia.com/articles/investing/022217/study-shows-surge-demand-natural-products.asp (Study by Kline Research
      indicated that in 2016, the personal care market reached 9% growth in the U.S. and 8% in the U.K. The trend-driven natural and
 25   organic personal care industry is on track to be worth $25.1 million by 2025); Natural living: The next frontier for growth? [NEXT
      Forecast 2017], NEW HOPE NTWORK (December 20, 2016), http://www.newhope.com/beauty-and-lifestyle/natural-living-next-
 26   frontier-growth-next-forecast-2017.

 27

 28
                                                                      6
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 7 of 45 Page ID #:7




  1

  2

  3

  4

  5

  6

  7

  8
  9

 10

 11

 12

 13

 14

 15
                                 Synthetic Ingredients:
 16
                                 Sodium Lauryl Sulfate
 17                                   Citric Acid
 18                                Titanium Dioxide

 19

 20

 21

 22

 23

 24

 25

 26
                            Grisi Balance Oat Natural Soap
 27

 28
                                           7
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 8 of 45 Page ID #:8




  1

  2

  3

  4

  5

  6

  7

  8
  9

 10

 11                              Synthetic Ingredients:

 12                               Sodium Lauryl Sulfate
 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27
                      Grisi Lightening Mother of Pearl Natural Soap
 28
                                            8
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 9 of 45 Page ID #:9




  1

  2

  3

  4

  5

  6

  7

  8
  9

 10

 11

 12

 13

 14

 15
                                 Synthetic Ingredients:
 16
                                 Sodium Lauryl Sulfate
 17                               Calcium Carbonate
 18

 19

 20

 21

 22

 23

 24

 25

 26

 27                   Grisi Moisturizer Donkey’s Milk Natural Soap
 28
                                           9
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 10 of 45 Page ID #:10




   1

   2

   3

   4

   5

   6

   7

   8
   9

  10

  11

  12

  13

  14

  15
                                  Synthetic Ingredients:
  16
                                  Sodium Lauryl Sulfate
  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28
                                           10
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 11 of 45 Page ID #:11



             19.         Defendant’s representations that the Products are “Natural” is false,
   1

   2 misleading, and deceptive because the Products contain multiple ingredients that are, as

   3 explained below, synthetic.

   4
                    a. Sodium Lauryl Sulfate is a synthetic additive as stated in C.F.R. 172.822. It
   5
                         is an active ingredient prepared by sulfation of lauryl alcohol, followed by
   6

   7                     neutralization with sodium carbonate. 2
   8                b. Calcium Carbonate is produced from calcium hydroxide, calcium chloride,
   9
                         or as a byproduct in the lime soda process. Federal regulations recognize
  10
                         calcium hydroxide as a synthetic compound (and the FDA has declared that
  11

  12                     calcium chloride renders a food no longer “natural.”) 3 The lime soda process

  13                     employs hazardous and synthetic substances and requires processing
  14
                         techniques so excessive so as to render the finished product unnatural. In
  15
                         fact, the EPA has promulgated regulations specifically addressing the
  16

  17                     environmental impact of calcium carbonate produced through the lime

  18                     process and by recovery from the Solvay waste products. Additionally,
  19
                         when used in drugs, calcium carbonate is listed as a synthetic compound by
  20
                         federal regulation.
  21

  22                c. Titanium Dioxide is a color additive that is synthetically prepared Ti02, free

  23                     from admixture with other substances. 4
  24

  25

  26         2
                 http://www3.epa.gov/pesticides/chem_search/reg_actions/reregistration/red_G-52_1-Sep-93.pdf
             3
  27             See FDA Warning Letter to Karl A. Hirzel, Hirzel Canning Co., (Aug. 29, 2001).
             4   http://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfcfr/cfrsearch.cfm?fr=73.575
  28
                                                                    11
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 12 of 45 Page ID #:12



                    d. Citric Acid is (2-hydroxy-propane-1, 2,3-tricarboxylic acid) is a synthetic
   1

   2                   substance. While the chemical’s name has the word “citric” in it, citric acid
   3                   is no longer extracted from the citrus fruit but industrially manufactured by
   4
                       fermenting certain genetically mutant strains of the black mold fungus,
   5
                       Aspergillus niger.
   6

   7
              20.      Given the presence of these synthetic and artificial ingredients in the
   8
   9 Products, Defendant’s representations that they are “Natural” are deceptive, false, and

  10 misleading.

  11
              21.      Congress has defined "synthetic" to mean “a substance that is formulated or
  12
       manufactured by a chemical process or by a process that chemically changes a substance
  13

  14 extracted from naturally occurring plants, animals, or mineral sources . . . .” 7 U.S.C. §

  15 6502 (21).

  16
              22.      Surveys and other market research, including expert testimony Plaintiffs
  17
       intend to introduce, will demonstrate that the term “natural” is misleading to a reasonable
  18

  19 consumer because the reasonable consumer believes that the term “natural,” when used to

  20 describe goods such as the Products, means that the goods are free of synthetic ingredients.

  21          23.      Consumers lack the meaningful ability to test or independently ascertain or
  22
       verify whether a product is natural, especially at the point of sale. Consumers would not
  23

  24
       know the true nature of the ingredients merely by reading the ingredients label.

  25          24.      Discovering that the ingredients are not natural and are actually synthetic
  26 requires a scientific investigation and knowledge of chemistry beyond that of the average

  27
       consumer. That is why, even though the ingredients listed above are identified on the back
  28
                                                      12
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 13 of 45 Page ID #:13



       of the Products’ packaging in the ingredients listed, the reasonable consumer would not
   1

   2 understand – nor are they expected to understand - that these ingredients are synthetic.

   3          25.    Moreover, the reasonable consumer is not expected or required to scour the
   4
       ingredients list on the back of the Products in order to confirm or debunk Defendant’s
   5
       prominent front-of-the-Products claims, representations, and warranties that the Products
   6

   7 are “Natural”.

   8          26.    Defendant did not disclose that the above listed ingredients are synthetic
   9
       ingredients. A reasonable consumer understands Defendant’s “Natural” claims to mean
  10
       that the Products are “Natural” and do not contain synthetic ingredients.
  11

  12          27.    Defendant’s representations that the Products are “Natural”, induced

  13 consumers, including Plaintiffs and Class Members, to pay a premium to purchase the

  14
       Products. Plaintiffs and Class Members relied on Defendant’s false and misleading
  15
       misrepresentations in purchasing the Products at a premium price above comparable
  16

  17 alternatives that are not represented to be “Natural”. If not for Defendant’s

  18 misrepresentations, Plaintiffs and Class Members would not have been willing to purchase

  19
       the Products at a premium price. Accordingly, they have suffered an injury as a result of
  20
       Defendant’s misrepresentations.
  21

  22          28.    Consumers rely on label representations and information in making

  23 purchasing decisions.

  24
              29.    The marketing of the Products as “Natural” in a prominent location on the
  25
       labels of all of the Products, throughout the Class Period, evidences Defendant’s awareness
  26

  27 that “Natural” claims are material to consumers.

  28
                                                    13
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 14 of 45 Page ID #:14



             30.      Defendant’s deceptive representations and omissions are material in that a
   1

   2 reasonable person would attach importance to such information and would be induced to

   3 act upon such information in making purchase decisions.

   4
             31.      Plaintiffs and the Class members reasonably relied to their detriment on
   5
       Defendant’s misleading representations and omissions.
   6

   7         32.      Defendant’s false, misleading, and deceptive misrepresentations and

   8 omissions are likely to continue to deceive and mislead reasonable consumers and the
   9
       general public, as they have already deceived and misled Plaintiffs and the Class members.
  10
             33.      In making the false, misleading, and deceptive representations and omissions
  11

  12 described herein, Defendant knew and intended that consumers would pay a premium for

  13 Products labeled “Natural” over comparable products not so labeled.

  14
             34.      As an immediate, direct, and proximate result of Defendant’s false,
  15
       misleading, and deceptive representations and omissions, Defendant injured Plaintiffs and
  16

  17 the Class members in that they:

  18               a. Paid a sum of money for Products that were not what Defendant
  19                  represented;

  20               b. Paid a premium price for Products that were not what Defendant
                      represented;
  21

  22               c. Were deprived of the benefit of the bargain because the Products they
                      purchased were different from what Defendant warranted;
  23

  24
                   d. Were deprived of the benefit of the bargain because the Products they
                      purchased had less value than what Defendant represented; and
  25

  26               e. Used a product that was of a different quality than what Defendant
                      promised.
  27

  28
                                                    14
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 15 of 45 Page ID #:15




   1
              35.    Had Defendant not made the false, misleading, and deceptive representations
   2
       and omissions, Plaintiffs and the Class members would not have been willing to pay the
   3

   4 same amount for the Products they purchased, and, consequently, Plaintiffs and the Class

   5 members would not have been willing to purchase the Products.

   6
              36.    Plaintiffs and the Class members paid for Products that were “Natural” but
   7
       received Products that were not “Natural”. The Products Plaintiffs and the Class members
   8
   9 received were worth less than the Products for which they paid.

  10          37.    Based on Defendant’s misleading and deceptive representations, Defendant
  11
       was able to, and did, charge a premium price for the Products over the cost of competitive
  12
       products not bearing a “Natural” label.
  13

  14          38.    Consequently, Plaintiffs and the Class members have suffered injury in fact

  15 and lost money as a result of Defendant’s wrongful conduct.

  16
                                         CLASS ALLEGATIONS
  17
              39.    Plaintiffs bring this matter on behalf of themselves and those similarly
  18

  19 situated. As detailed at length in this Complaint, Defendant orchestrated deceptive

  20 marketing and labeling practices. Defendant’s customers were uniformly impacted by and

  21 exposed to this misconduct. Accordingly, this Complaint is well situated for classwide

  22
       resolution, including injunctive relief.
  23

  24
              40.    The Class is defined as all consumers who purchased the Products anywhere

  25 in the United States during the Class Period (the “Class”).

  26

  27

  28
                                                    15
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 16 of 45 Page ID #:16



             41.    Plaintiffs also seeks certification, to the extent necessary or appropriate, of a
   1

   2 subclass of individuals who purchased the Products in the State of California at any time

   3 during the Class Period (the “California Subclass”).

   4
             42.    Plaintiffs also seeks certification, to the extent necessary or appropriate, of a
   5
       subclass of individuals who purchased the Products in the State of New York at any time
   6

   7 during the Class Period (the “New York Subclass”).

   8         43.    The Class, the California Subclass, and the New York Subclass, shall be
   9
       referred to collectively throughout the Complaint as the “Class.”
  10
             44.    The Class is properly brought and should be maintained as a class action
  11

  12 under Rule 23(a), satisfying the class action prerequisites of numerosity, commonality,

  13 typicality, adequacy and superiority because:

  14
             45.    Numerosity: Class Members are so numerous that joinder of all members is
  15
       impracticable. Plaintiffs believe that there are thousands of consumers who are Class
  16

  17 Members described above who have been damaged by Defendant’s deceptive and

  18 misleading practices.

  19
             46.    Commonality: The questions of law and fact common to the Class Members,
  20
       which predominate over any questions which may affect individual Class Members,
  21

  22 include, but are not limited to:

  23                a. Whether Defendant is responsible for the conduct alleged herein which
  24
                        was uniformly directed at all consumers who purchased the Products;
  25
                    b. Whether Defendant’s misconduct set forth in this Complaint
  26

  27                    demonstrates that Defendant has engaged in unfair, fraudulent, or

  28
                                                    16
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 17 of 45 Page ID #:17



                        unlawful business practices with respect to the advertising, marketing,
   1

   2                    and sale of its Products;
   3                 c. Whether Defendant made false and/or misleading statements to the Class
   4
                        and the public concerning the contents of its Products;
   5
                     d. Whether Defendant’s false and misleading statements concerning its
   6

   7                    Products were likely to deceive the public;
   8                 e. Whether Plaintiffs and the Class are entitled to injunctive relief;
   9
                     f. Whether Plaintiffs and the Class are entitled to money damages under the
  10
                        same causes of action as the other Class Members.
  11

  12 These issues predominate over individual issues. This controversy will largely turn on

  13 Defendant’s uniform behavior in misrepresenting the Products to the Class which will be

  14
       evaluated under an objective “reasonable person” standard. Individual inquiries into the
  15
       conduct of members of the Class will not be necessary.
  16

  17          47.    Typicality: Each Plaintiff is a member of the national Class. Plaintiffs

  18 Prudencio and Quintero are members of the California Subclass and Plaintiff Rivera is a

  19
       member of the New York Subclass. Plaintiffs’ claims are typical of the claims of each
  20
       Class Member in that every member of the Class was susceptible to the same deceptive,
  21

  22 misleading conduct and purchased the Defendant’s Products. Plaintiffs are entitled to

  23 relief under the same causes of action as the other Class Members.

  24
              48.    Adequacy: Plaintiffs are adequate Class representatives because their
  25
       interests do not conflict with the interests of the Class Members they seek to represent;
  26

  27 their consumer fraud claims are common to all members of the Class and they have a

  28
                                                    17
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 18 of 45 Page ID #:18



       strong interest in vindicating their rights; they have retained counsel competent and
   1

   2 experienced in complex class action litigation and they intend to vigorously prosecute this

   3 action. Plaintiffs have no interests which conflict with those of the Class. The Class

   4
       Members’ interests will be fairly and adequately protected by Plaintiffs and their counsel.
   5
       The Class is properly brought and should be maintained as a class action under Rule 23(b).
   6

   7 Pursuant to Rule 23(b)(3), common issues of law and fact predominate over any other

   8 questions affecting only individual members of the Class. The Class issues fully
   9
       predominate over any individual issue because no inquiry into individual conduct is
  10
       necessary; all that is required is a narrow focus on Defendant’s deceptive and misleading
  11

  12 marketing and labeling practices.

  13          49.      Superiority: A class action is superior to the other available methods for the
  14
       fair and efficient adjudication of this controversy because:
  15
                    a. The joinder of thousands of individual Class Members is impracticable,
  16

  17                   cumbersome, unduly burdensome, and a waste of judicial and/or litigation

  18                   resources;
  19
                    b. The individual claims of the Class Members are modest compared with the
  20
                       expense of litigating the claim, thereby making it impracticable, unduly
  21

  22                   burdensome, and expensive—if not totally impossible—to justify individual

  23                   actions;
  24
                    c. When Defendant’s liability has been adjudicated, all Class Members’ claims
  25
                       can be determined by the Court and administered efficiently in a manner far
  26

  27

  28
                                                      18
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 19 of 45 Page ID #:19



                       less burdensome and expensive than if it were attempted through filing,
   1

   2                   discovery, and trial of all individual cases;
   3                d. This class action will promote orderly, efficient, expeditious, and appropriate
   4
                       adjudication and administration of Class claims;
   5
                    e. Plaintiffs know of no difficulty to be encountered in the management of this
   6

   7                   action that would preclude its maintenance as a class action;
   8                f. This class action will assure uniformity of decisions among Class Members;
   9
                    g. The Class is readily definable and prosecution of this action as a class action
  10
                       will eliminate the possibility of repetitious litigation;
  11

  12                h. Class Members’ interests in individually controlling the prosecution of

  13                   separate actions is outweighed by their interest in efficient resolution by
  14
                       single class action; and
  15
                    i. It would be desirable to concentrate in this single venue the litigation of all
  16

  17                   plaintiffs who were induced by Defendant’s uniform false advertising to

  18                   purchase its Products as being “Natural.”
  19
              50.      Accordingly, this Class is properly brought and should be maintained as a
  20
       class action under Rule 23(b)(3) because questions of law or fact common to Class
  21

  22 Members predominate over any questions affecting only individual members, and because

  23 a class action is superior to other available methods for fairly and efficiently adjudicating

  24
       this controversy.
  25

  26

  27

  28
                                                        19
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 20 of 45 Page ID #:20



                                     INJUNCTIVE CLASS RELIEF
   1

   2          51.      Rules 23(b)(1) and (2) contemplate a class action for purposes of seeking
   3 class-wide injunctive relief. Here, the Defendant has engaged in conduct resulting in

   4
       misleading consumers about ingredients in its Products. Since Defendant’s conduct has
   5
       been uniformly directed at all consumers in the United States, and the conduct continues
   6

   7 presently, injunctive relief on a class-wide basis is a viable and suitable solution to remedy

   8 Defendant’s continuing misconduct. Plaintiffs do not know if they can rely on Defendant’s
   9
       label claims in the future, but would purchase the Products again if the ingredients were
  10
       changed so that they indeed were “Natural”.
  11

  12          52.      The injunctive Class is properly brought and should be maintained as a class

  13 action under Rule 23(a), and the injunctive Class satisfies the class action prerequisites of

  14
       numerosity, commonality, typicality, and adequacy because:
  15
                    a. Numerosity: Individual joinder of the injunctive Class Members would be
  16

  17                   wholly impracticable. Defendant’s Products have been purchased by

  18                   thousands of people throughout the United States;
  19
                    b. Commonality: Questions of law and fact are common to members of the
  20
                       Class. Defendant’s misconduct was uniformly directed at all consumers.
  21

  22                   Thus, all members of the Class have a common cause against Defendant to

  23                   stop its misleading conduct through an injunction. Since the issues presented
  24
                       by this injunctive Class deal exclusively with Defendant’s misconduct,
  25
                       resolution of these questions would necessarily be common to the entire
  26

  27

  28
                                                     20
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 21 of 45 Page ID #:21



                       Class. Moreover, there are common questions of law and fact inherent in the
   1

   2                   resolution of the proposed injunctive class, including, inter alia:
   3                         i. Resolution of the issues presented in the 23(b)(3) class;
   4
                            ii. Whether members of the Class will continue to suffer harm by
   5
                                virtue of Defendant’s deceptive product marketing and labeling; and
   6

   7                       iii. Whether, on equitable grounds, Defendant should be prevented from
   8                            continuing to deceptively mislabel its Products as being “Natural”.
   9
                    c. Typicality: Plaintiffs’ claims are typical of the claims of the injunctive Class
  10
                       because their claims arise from the same course of conduct (i.e. Defendant’s
  11

  12                   deceptive and misleading marketing, labeling, and advertising practices).

  13                   Plaintiffs are typical representatives of the Class because, like all members of
  14
                       the injunctive Class, they purchased Defendant’s Products which were sold
  15
                       unfairly and deceptively to consumers throughout the United States.
  16

  17                d. Adequacy: Plaintiffs will fairly and adequately represent and protect the

  18                   interests of the injunctive Class. Their consumer protection claims are
  19
                       common to all members of the injunctive Class and they have a strong
  20
                       interest in vindicating their rights. In addition, Plaintiffs and the Class are
  21

  22                   represented by counsel who is competent and experienced in both consumer

  23                   protection and class action litigation.
  24
              53.      The injunctive Class is properly brought and should be maintained as a class
  25
       action under Rule 23(b)(2) because Plaintiffs seek injunctive relief on behalf of the Class
  26

  27 Members on grounds generally applicable to the entire injunctive Class. Certification

  28
                                                       21
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 22 of 45 Page ID #:22



       under Rule 23(b)(2) is appropriate because Defendant has acted or refused to act in a
   1

   2 manner that applies generally to the injunctive Class (i.e. Defendant has marketed its

   3 Products using the same misleading and deceptive labeling to all of the Class Members).

   4
       Any final injunctive relief or declaratory relief would benefit the entire injunctive Class as
   5
       Defendant would be prevented from continuing its misleading and deceptive marketing
   6

   7 practices and would be required to honestly disclose to consumers the nature of the

   8 contents of its Products. Plaintiffs would purchase the Products again if the ingredients
   9
       were changed so that they indeed were “Natural”.
  10
                                   FIRST CAUSE OF ACTION
  11
                VIOLATION OF CAL. BUS. & PROF. CODE § 17200, ET SEQ.
  12    (Brought by Plaintiffs Prudencio and Quintero on behalf of the California Subclass)

  13          54.    Plaintiffs repeat and reallege each and every allegation contained in all the
  14
       foregoing paragraphs as if fully set forth herein.
  15
              55.    Plaintiffs Prudencio and Quintero have standing to pursue this claim under
  16

  17 California’s Unfair Competition Law (“UCL”) because they suffered an injury-in-fact and

  18 lost money as a result of Defendant’s unfair practices. Specifically, they expended more

  19
       money in the transaction than they otherwise would have due to Defendant’s conduct.
  20
              56.    Advertising and labeling the Products as “Natural” when they contain
  21

  22 synthetic ingredients constitutes a course of unfair conduct within the meaning of Cal. Civ.

  23 Code § 17200, et seq.

  24
              57.    The conduct of the defendant harms the interests of consumers and market
  25
       competition. There is no valid justification for defendant’s conduct.
  26

  27

  28
                                                     22
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 23 of 45 Page ID #:23



              58.    Defendant engaged in unlawful business acts and practices by breaching
   1

   2 implied and express warranties, and violating the Consumers Legal Remedies Act, Cal.

   3 Civ. Code § 1750, et seq.

   4
              59.    Defendant engaged in fraudulent business practices by knowingly
   5
       misrepresenting the Products as “Natural” when they contain synthetic ingredients. Such
   6

   7 practices are devoid of utility and outweighed by the gravity of harm to Plaintiffs

   8 Prudencio and Quintero and the California Subclass who lost money or property by paying
   9
       for the defective product.
  10
              60.    Each of Defendant’s unfair, unlawful and fraudulent practices enumerated
  11

  12 above was the direct and proximate cause of financial injury to Plaintiffs Prudencio and

  13 Quintero and the Class. Defendant has unjustly benefitted as a result of its wrongful

  14
       conduct. Plaintiffs Prudencio and Quintero and the California Class members are
  15
       accordingly entitled to have Defendant disgorge and restore to Plaintiffs Prudencio and
  16

  17 Quintero and California Class members all monies wrongfully obtained by Defendant as a

  18 result of the conduct as alleged herein.

  19
              61.    Pursuant to section 17203 of the California Business and Professions Code,
  20
       Plaintiffs Prudencio and Quintero and the Class seek an order of this Court enjoining
  21

  22 Defendant from continuing to engage in unfair, unlawful and deceptive practices and any

  23 other act prohibited by law, including the acts set forth herein.

  24

  25

  26

  27

  28
                                                   23
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 24 of 45 Page ID #:24



                                     SECOND CAUSE OF ACTION
   1
                          VIOLATION OF CAL. CIV. CODE § 1750, ET SEQ.
   2                  (Brought by Plaintiffs Prudencio and Quintero on Behalf of the
                                            California Subclass)
   3

   4         62.    Plaintiffs repeat and reallege each and every allegation contained in all the

   5 foregoing paragraphs as if fully set forth herein.

   6
             63.    The Consumers Legal Remedies Act (“CLRA”) was enacted to protect
   7
       consumers against unfair and deceptive business practices. The CLRA applies to
   8
   9 Defendant’s acts and practices because the Act covers transactions involving the sale of

  10 goods to consumers.

  11
             64.    Plaintiffs Prudencio and Quintero and members of the California Subclass
  12
       members are “consumers” within the meaning of section 1761(d) of the California Civil
  13

  14 Code, and they engaged in “transactions” within the meaning of sections 1761(e) and 1770

  15 of the California Civil Code, including the purchases of the Products.

  16
             65.    The Products are “goods” under Cal. Civ. Code §1761(a).
  17
             66.    Defendant’s unfair and deceptive business practices were intended to and did
  18

  19 result in the sale of the Products.

  20         67.    Defendant violated the CLRA by engaging in the following unfair and
  21 deceptive practices:

  22
             (1) Representing that Products have characteristics, uses or benefits that they do not
  23

  24
         have, in violation of section 1770(a)(5);

  25         (2) Representing that Products are of a particular standard, quality, or grade when
  26 they are not, in violation of section 1770(a)(7); and

  27

  28
                                                     24
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 25 of 45 Page ID #:25



              (3) Advertising Products with the intent not to sell them as advertised, in violation
   1

   2          of section 1770(a)(9).
   3          68.    If Plaintiffs Prudencio and Quintero and the California Class members had
   4
       known this fact, they would not have purchased the Products at all or purchased the
   5
       Products at the prices they did.
   6

   7          69.    As a direct and proximate result of Defendant’s conduct, Plaintiffs Prudencio

   8 and Quintero and the California Class suffered injury.
   9
              70.    Pursuant to California Civil Code § 1782(a), Plaintiffs Prudencio and
  10
       Quintero sent Defendant a CLRA notice letter via certified mail, return receipt requested,
  11

  12 which was delivered on or around July 19, 2017, advising Defendant that it is in violation

  13 of the CLRA and must correct, repair, replace or otherwise rectify the goods alleged to be

  14
       in violation of § 1770.
  15
              71.    As of the date of this filing, Plaintiffs have not received a response.
  16

  17          72.    Accordingly, Plaintiffs seek damages under the CLRA in an amount to be

  18 determined at trial.

  19
                                   THIRD CAUSE OF ACTION
  20                        VIOLATION OF NEW YORK GBL § 349
            (Brought by Plaintiff Rivera on Behalf of the New York Subclass Members)
  21

  22          73.    Plaintiffs repeat and reallege each and every allegation contained in all the

  23 foregoing paragraphs as if fully set forth herein.

  24
              74.    New York General Business Law Section 349 (“GBL § 349”) declares
  25
       unlawful “[d]eceptive acts or practices in the conduct of any business, trade, or commerce
  26

  27 or in the furnishing of any service in this state . . .”

  28
                                                      25
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 26 of 45 Page ID #:26



             75.    The conduct of Defendant alleged herein constitutes recurring, “unlawful”
   1

   2 deceptive acts and practices in violation of GBL § 349, and as such, Plaintiff Rivera and

   3 the New York Subclass Members seek monetary damages and the entry of preliminary and

   4
       permanent injunctive relief against Defendant, enjoining it from inaccurately describing,
   5
       labeling, marketing, and promoting the Products.
   6

   7         76.    There is no adequate remedy at law.

   8         77.    Defendant misleadingly, inaccurately, and deceptively markets its Products
   9
       to consumers.
  10
             78.    Defendant’s improper consumer-oriented conduct—including labeling and
  11

  12 advertising the Products as being “Natural”—is misleading in a material way in that it,

  13 inter alia, induced Plaintiff Rivera and the New York Subclass Members to purchase and

  14
       pay a premium for Defendant’s Products and to use the Products when they otherwise
  15
       would not have. Defendant made its untrue and/or misleading statements and
  16

  17 representations willfully, wantonly, and with reckless disregard for the truth.

  18         79.    Plaintiff Rivera and the New York Subclass Members have been injured
  19
       inasmuch as they paid a premium for products that were—contrary to Defendant’s
  20
       representations— not “Natural”. Accordingly, Plaintiff Rivera and the New York Subclass
  21

  22 Members received less than what they bargained and/or paid for.

  23         80.    Defendant’s advertising and Products’ packaging and labeling induced the
  24
       Plaintiff Rivera and the New York Subclass Members to buy Defendant’s Products and to
  25
       pay a premium price for them.
  26

  27

  28
                                                   26
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 27 of 45 Page ID #:27



              81.    Defendant’s deceptive and misleading practices constitute a deceptive act
   1

   2 and practice in the conduct of business in violation of New York General Business Law

   3 §349(a) and Plaintiff Rivera and the New York Subclass Members have been damaged

   4
       thereby.
   5
              82.    As a result of Defendant’s recurring, “unlawful” deceptive acts and practices,
   6

   7 Plaintiff Rivera and the New York Subclass Members are entitled to monetary,

   8 compensatory, treble and punitive damages, injunctive relief, restitution and disgorgement
   9
       of all moneys obtained by means of Defendant’s unlawful conduct, interest, and attorneys’
  10
       fees and costs.
  11

  12                              FOURTH CAUSE OF ACTION
                            VIOLATION OF NEW YORK GBL § 350
  13        (Brought by Plaintiff Rivera on Behalf of the New York Subclass Members)
  14
              83.    Plaintiffs repeat and reallege each and every allegation contained in all the
  15
       foregoing paragraphs as if fully set forth herein.
  16

  17          84.    N.Y. Gen. Bus. Law § 350 provides, in part, as follows:

  18                               False advertising in the conduct of any business, trade or
  19                               commerce or in the furnishing of any service in this state is
                                   hereby declared unlawful.
  20
              85.    N.Y. Gen. Bus. Law § 350a(1) provides, in part, as follows:
  21

  22                               The term ‘false advertising, including labeling, of a
                                   commodity, or of the kind, character, terms or conditions of
  23                               any employment opportunity if such advertising is misleading
  24
                                   in a material respect. In determining whether any advertising
                                   is misleading, there shall be taken into account (among other
  25                               things) not only representations made by statement, word,
                                   design, device, sound or any combination thereof, but also the
  26                               extent to which the advertising fails to reveal facts material in
  27                               the light of such representations with respect to the commodity
                                   or employment to which the advertising relates under the
  28
                                                     27
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 28 of 45 Page ID #:28



                                   conditions proscribed in said advertisement, or under such
   1
                                   conditions as are customary or usual . . .
   2
              86.    Defendant’s labeling and advertisements contain untrue and materially
   3

   4 misleading statements concerning Defendant’s Products inasmuch as they misrepresent

   5 that the Products are “Natural”.

   6
              87.    Plaintiff Rivera and the New York Subclass Members have been injured
   7
       inasmuch as they relied upon the labeling, packaging and advertising and paid a premium
   8
   9 for the Products which were—contrary to Defendant’s representations—not “Natural”.

  10 Accordingly, Plaintiff Rivera and the New York Subclass Members received less than

  11
       what they bargained and/or paid for.
  12
              88.    Defendant’s advertising, packaging and products’ labeling induced the
  13

  14 Plaintiff Rivera and the New York Subclass Members to buy Defendant’s Products.

  15          89.    Defendant made its untrue and/or misleading statements and representations
  16
       willfully, wantonly, and with reckless disregard for the truth.
  17
              90.    Defendant’s conduct constitutes multiple, separate violations of N.Y. Gen.
  18

  19 Bus. Law § 350.

  20          91.    Defendant made the material misrepresentations described in this Complaint
  21 in Defendant’s advertising, and on the Products’ packaging and labeling.

  22
              92.    Defendant’s material misrepresentations were substantially uniform in
  23

  24
       content, presentation, and impact upon consumers at large. Moreover, all consumers

  25 purchasing the Products were and continue to be exposed to Defendant’s material

  26 misrepresentations.

  27

  28
                                                     28
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 29 of 45 Page ID #:29



                93.   As a result of Defendant’s recurring, “unlawful” deceptive acts and practices,
   1

   2 Plaintiff Rivera and New York Subclass Members are entitled to monetary, compensatory,

   3 treble and punitive damages, injunctive relief, restitution and disgorgement of all moneys

   4
       obtained by means of Defendant’s unlawful conduct, interest, and attorneys’ fees and
   5
       costs.
   6

   7                            FIFTH CAUSE OF ACTION
                 VIOLATION OF NEW YORK GBL LAW § 350-a(1) BY OMISSION
   8                    (Brought by Plaintiff Rivera on Behalf of the
   9                          New York Subclass Members)

  10            94.   Plaintiffs repeat and reallege each and every allegation contained in the
  11
       foregoing paragraphs as if fully set forth herein.
  12
                95.   N.Y. Gen. Bus. Law § 350-a(1) expressly covers material omissions:
  13

  14                  In determining whether any advertising is misleading, there shall be
                      taken into account (among other things) not only representations made
  15                  by statement, word, design, device, sound or any combination thereof,
                      but also the extent to which the advertising fails to reveal facts
  16
                      material in the light of such representations with respect to the
  17                  commodity or employment to which the advertising relates under the
                      conditions proscribed in said advertisement, or under such conditions
  18                  as are customary or usual…
  19
                96.   Defendant’s products’ labeling and advertising contain misleading and/or
  20
       unfair material omissions concerning Defendant’s Products. The Products’ labeling and
  21

  22 advertising omit that: 1) the Products contain synthetic ingredients; and 2) the Products

  23 are not “Natural”.

  24
                97.   Plaintiff Rivera and the Class Members have been injured inasmuch as they
  25
       relied upon the labels and advertising and paid a premium for Products that, contrary to
  26

  27 Defendant’s labels and advertising, are not “Natural.”

  28
                                                     29
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 30 of 45 Page ID #:30



              98.    Defendant made its untrue and/or misleading statements and representations
   1

   2 willfully, wantonly, and with reckless disregard for the truth.

   3          99.    Defendant’s dissemination of advertising and labeling containing material
   4
       omissions of fact constitutes multiple, separate violations of N.Y. Gen. Bus. Law § 350.
   5
              100.   Defendant’s material misrepresentations by way of omission, as described in
   6

   7 this Complaint, were substantially uniform in content, presentation, and impact upon

   8 consumers at large. Moreover, all consumers purchasing the Products were and continue
   9
       to be exposed to Defendant’s material misrepresentations by way of omission.
  10
              101.   Defendant’s advertising and labeling for the Products induced Plaintiff
  11

  12 Rivera and Class Members to buy the Products at a premium price.

  13          102.   Plaintiff Rivera and Class Members relied on Defendant’s advertising, which
  14
       was deceptive, false, and contained material omissions.
  15
              103.   As a result of Defendant’s false and misleading advertising and labeling,
  16

  17 Plaintiff Rivera and Class Members are entitled to monetary and compensatory damages,

  18 injunctive relief, restitution and disgorgement of all moneys obtained by means of

  19
       Defendant’s unlawful conduct, interest, and attorneys’ fees and costs.
  20
                                    SIXTH CAUSE OF ACTION
  21
                               BREACH OF EXPRESS WARRANTY
  22                    (Brought by Plaintiffs On Behalf of all Class Members)

  23          104.   Plaintiffs repeat and reallege each and every allegation contained in the
  24
       foregoing paragraphs as if fully set forth herein.
  25

  26

  27

  28
                                                     30
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 31 of 45 Page ID #:31



              105.   Defendant provided the Plaintiffs and Class Members with an express
   1

   2 warranty in the form of written affirmations of fact promising and representing that the

   3 Products are “Natural”.

   4
              106.   The above affirmations of fact were not couched as “belief” or “opinion,”
   5
       and were not “generalized statements of quality not capable of proof or disproof.”
   6

   7          107.   These affirmations of fact became part of the basis for the bargain and were
   8 material to the Plaintiffs’ and Class Members’ transactions.
   9
              108.   Plaintiffs and Class Members reasonably relied upon the Defendant’s
  10
       affirmations of fact and justifiably acted in ignorance of the material facts omitted or
  11

  12 concealed when they decided to buy Defendant’s Products.

  13          109.   Within a reasonable time after they knew or should have known of
  14
       Defendant’s breach, Plaintiffs, on behalf of themselves and Class Members, placed
  15
       Defendant on notice of its breach, giving Defendant an opportunity to cure its breach,
  16

  17 which it refused to do.

  18          110.   Defendant breached the express warranty because the Products are not
  19
       “Natural” because they contain synthetic ingredients.
  20
              111.   Defendant thereby breached the following state warranty laws:
  21

  22                 a.     Code of Ala. § 7-2-313;

  23                 b.     Alaska Stat. § 45.02.313;
  24
                     c.     A.R.S. § 47-2313;
  25
                     d.     A.C.A. § 4-2-313;
  26

  27                 e.     Cal. Comm. Code § 2313;

  28
                                                     31
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 32 of 45 Page ID #:32



                 f.    Colo. Rev. Stat. § 4-2-313;
   1

   2             g.    Conn. Gen. Stat. § 42a-2-313;
   3             h.    6 Del. C. § 2-313;
   4
                 i.    D.C. Code § 28:2-313;
   5
                 j.    Fla. Stat. § 672.313;
   6

   7             k.    O.C.G.A. § 11-2-313;
   8             l.    H.R.S. § 490:2-313;
   9
                 m.    Idaho Code § 28-2-313;
  10
                 n.    810 I.L.C.S. 5/2-313;
  11

  12             o.    Ind. Code § 26-1-2-313;

  13             p.    Iowa Code § 554.2313;
  14
                 q.    K.S.A. § 84-2-313;
  15
                 r.    K.R.S. § 355.2-313;
  16

  17             s.    11 M.R.S. § 2-313;

  18             t.    Md. Commercial Law Code Ann. § 2-313;
  19
                 u.    106 Mass. Gen. Laws Ann. § 2-313;
  20
                 v.    M.C.L.S. § 440.2313;
  21

  22             w.    Minn. Stat. § 336.2-313;

  23             x.    Miss. Code Ann. § 75-2-313;
  24
                 y.    R.S. Mo. § 400.2-313;
  25
                 z.    Mont. Code Anno. § 30-2-313;
  26

  27             aa.   Neb. Rev. Stat. § 2-313;

  28
                                               32
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 33 of 45 Page ID #:33



                 bb.   Nev. Rev. Stat. Ann. § 104.2313;
   1

   2             cc.   R.S.A. 382-A:2-313;
   3             dd.   N.J. Stat. Ann. § 12A:2-313;
   4
                 ee.   N.M. Stat. Ann. § 55-2-313;
   5
                 ff.   N.Y. U.C.C. Law § 2-313;
   6

   7             gg.   N.C. Gen. Stat. § 25-2-313;
   8             hh.   N.D. Cent. Code § 41-02-30;
   9
                 ii.   II. O.R.C. Ann. § 1302.26;
  10
                 jj.   12A Okl. St. § 2-313;
  11

  12             kk.   Or. Rev. Stat. § 72-3130;

  13             ll.   13 Pa. Rev. Stat. § 72-3130;
  14
                 mm. R.I. Gen. Laws § 6A-2-313;
  15
                 nn.   S.C. Code Ann. § 36-2-313;
  16

  17             oo.   S.D. Codified Laws, § 57A-2-313;

  18             pp.   Tenn. Code Ann. § 47-2-313;
  19
                 qq.   Tex. Bus. & Com. Code § 2.313;
  20
                 rr.   Utah Code Ann. § 70A-2-313;
  21

  22             ss.   9A V.S.A. § 2-313;

  23             tt.   Va. Code Ann. § 59.1-504.2;
  24
                 uu.   Wash. Rev. Code Ann. § 6A.2-313;
  25
                 vv.   W. Va. Code § 46-2-313;
  26

  27             ww.   Wis. Stat. § 402.313;

  28
                                               33
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 34 of 45 Page ID #:34



                     xx.    Wyo. Stat. § 34.1-2-313.
   1

   2          112.   As a direct and proximate result of Defendant’s breach of express warranty,
   3 Plaintiffs and Class Members were damaged in the amount of the price they paid for the

   4
       Products, in an amount to be proven at trial.
   5
                                 SEVENTH CAUSE OF ACTION
   6
                           VIOLATION OF THE MAGNUSON-MOSS
   7                        WARRANTY ACT, 15 U.S.C. § 2301 et seq.
                       (Brought by Plaintiffs on Behalf of All Class Members)
   8
   9          113.   Plaintiffs repeat and reallege each and every allegation contained in the

  10 foregoing paragraphs as if fully set forth herein.

  11
              114.   Plaintiffs bring this claim individually and on behalf of all members of the
  12
       Class. Upon certification, the Class will consist of more than 100 named Plaintiffs.
  13

  14          115.   The Magnuson-Moss Warranty Act provides a federal remedy for consumers

  15 who have been damaged by the failure of a supplier or warrantor to comply with any

  16
       obligation under a written warranty or implied warranty, or other various obligations
  17
       established under the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301 et seq.
  18

  19          116.   The Products are “consumer products” within the meaning of the Magnuson-

  20 Moss Warranty Act, 15 U.S.C. § 2301(1).

  21          117.   Plaintiffs and other members of the Class are “consumers” within the
  22
       meaning of the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(3).
  23

  24
              118.   Defendant is a “supplier” and “warrantor” within the meaning of the

  25 Magnuson-Moss Warranty Act, 15 U.S.C. §§ 2301(4) & 2301(5).

  26          119.   Defendant represented in writing that the Products are “Natural”.
  27

  28
                                                       34
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 35 of 45 Page ID #:35



              120.   These statements were made in connection with the sale of the Products and
   1

   2 relate to the nature of the Products and affirm and promise that the Products are as

   3 represented and defect free and, as such, are “written warranties” within the meaning of the

   4
       Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(6)(A).
   5
              121.   As alleged herein, Defendant breached the written warranty by selling
   6

   7 consumers Products that are not “Natural”. The Products do not conform to the

   8 Defendant’s written warranty and therefore violates the Magnuson-Moss Warranty Act, 15
   9
       U.S.C. § 2301 et seq. Consequently, Plaintiffs and the other members of the Class have
  10
       suffered injury and are entitled to damages in an amount to be proven at trial.
  11

  12                           EIGHTH CAUSE OF ACTION
                VIOLATION OF STATE CONSUMER PROTECTION STATUTES
  13                 (Brought by Plaintiffs on Behalf of al Class Members)
  14
              122.   Plaintiffs repeat and reallege each and every allegation contained in all the
  15
       foregoing paragraphs as if fully set forth herein.
  16

  17          123.   Plaintiffs and Class Members have been injured as a result of Defendant’s

  18 violations of the following state consumer protection statutes, which also provide a basis

  19
       for redress to Plaintiffs and Class Members based on Defendant’s fraudulent, deceptive,
  20
       unfair and unconscionable acts, practices and conduct.
  21

  22          124.   Defendant’s conduct as alleged herein violates the consumer protection,

  23 unfair trade practices and deceptive acts laws of each of the following jurisdictions:

  24
                a.   Alaska: Defendant’s practices were and are in violation of Alaska’s Unfair
  25
                     Trade Practices and Consumer Protection Act, Alaska Stat. § 45.50.471, et
  26

  27                 seq.

  28
                                                     35
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 36 of 45 Page ID #:36



             b.   Arizona: Defendant’s practices were and are in violation of Arizona’s
   1

   2              Consumer Fraud Act, Ariz. Rev. Stat. Ann. §§ 44-1521, et seq.
   3         c.   Arkansas: Defendant’s practices were and are in violation of Arkansas
   4
                  Code Ann. § 4-88-101, et seq.
   5
             d.   Colorado: Defendant’s practices were and are in violation of Colorado’s
   6

   7              Consumer Protection Act, Colo. Rev. Stat. §§ 61-1-101, et seq.
   8         e.   Connecticut: Defendant’s practices were and are in violation of
   9
                  Connecticut’s Gen. Stat. § 42-110a, et seq.
  10
             f.   Delaware: Defendant’s practices were and are in violation of Delaware’s
  11

  12              Consumer Fraud Act, Del. Code Ann. tit. 6, § 2511, et seq. and the

  13              Deceptive Trade Practices Act, Del. Code Ann. tit. 6, § 2531, et seq.
  14
             g.   District of Columbia: Defendant’s practices were and are in violation of
  15
                  the District of Columbia’s Consumer Protection Act, D.C. Code § 28-3901,
  16

  17              et seq.

  18         h.   Florida: Defendant’s practices were and are in violation of the Florida
  19
                  Deceptive and Unfair Trade Practices Act, Fla. Stat. Ann. § 501.201, et seq.
  20
             i.   Hawaii: Defendant’s practices were and are in violation of the Hawaii’s
  21

  22              Uniform Deceptive Trade Practices Act, Haw. Rev. Stat. § 481A-1, et seq.

  23              and Haw. Rev. Stat. § 480-2.
  24
             j.   Idaho: Defendant’s practices were and are in violation of Idaho’s Consumer
  25
                  Protection Act, Idaho Code Ann. § 48-601, et seq.
  26

  27

  28
                                                  36
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 37 of 45 Page ID #:37



             k.   Illinois: Defendant’s acts and practices were and are in violation of Illinois’
   1

   2              Consumer Fraud and Deceptive Business Practices Act, 815 Ill. Comp. Stat.
   3              505/2; and Uniform Deceptive Trade Practices Act, 815 Ill. Comp. Stat.
   4
                  510/2.
   5
             l.   Indiana: Defendant’s practices were and are in violation of Indiana’s
   6

   7              Deceptive Consumer Sales Act, Ind. Code Ann. § 24-5-0.5-1, et seq.
   8         m. Kansas: Defendant’s practices were and are in violation of Kansas’s
   9
                  Consumer Protection Act, Kat. Stat. Ann. § 50-623, et seq.
  10
             n.   Kentucky: Defendant’s practices were and are in violation of Kentucky’s
  11

  12              Consumer Protection Act, Ky. Rev. Stat. Ann. § 367.110, et seq.

  13         o.   Maine: Defendant’s practices were and are in violation of the Maine Unfair
  14
                  Trade Practices Act, 5 Me. Rev. Stat. Ann. Tit. 5, § 205-A, et seq. and 10
  15
                  Me. Rev. Stat. Ann. § 1101, et seq.
  16

  17         p.   Maryland: Defendant’s practices were and are in violation of Maryland’s

  18              Consumer Protection Act, Md. Code Ann. Com. Law § 13-101, et seq.
  19
             q.   Massachusetts: Defendant’s practices were unfair and deceptive acts and
  20
                  practices in violation of Massachusetts’ Consumer Protection Act, Mass.
  21

  22              Gen. Laws ch. 93A, § 2.

  23         r.   Michigan: Defendant’s practices were and are in violation of Michigan’s
  24
                  Consumer Protection Act, Mich. Comp. Laws Ann. § 445.901, et seq.
  25

  26

  27

  28
                                                 37
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 38 of 45 Page ID #:38



             s.   Minnesota: Defendant’s practices were and are in violation of Minnesota’s
   1

   2              Prevention of Consumer Fraud Act, Minn. Stat. § 325F.68, et seq. and the
   3              Unlawful Trade Practices law, Minn. Stat. § 325D.09, et seq.
   4
             t.   Missouri: Defendant’s practices were and are in violation of Missouri’s
   5
                  Merchandising Practices Act, Mo. Rev. Stat. § 407.010, et seq.
   6

   7         u.   Nebraska: Defendant’s practices were and are in violation of Nebraska’s
   8              Consumer Protection Act, Neb. Rev. Stat. § 59-1601, et seq. and the Uniform
   9
                  Deceptive Trade Practices Act, § 87-302, et seq.
  10
             v.   Nevada: Defendant’s practices were and are in violation of Nevada’s
  11

  12              Deceptive Trade Practices Act, Nev. Rev. Stat. Ann. §§ 598.0903 and

  13              41.600.
  14
             w. New Hampshire: Defendant’s practices were and are in violation of New
  15
                  Hampshire’s Regulation of Business Practices for Consumer Protection,
  16

  17              N.H. Rev. Stat. Ann. § 358-A:1, et seq.

  18         x.   New Jersey: Defendant’s practices were and are in violation of New
  19
                  Jersey’s Consumer Fraud Act, N.J. Stat. Ann. § 56:8-1, et seq.
  20
             y.   New Mexico: Defendant’s practices were and are in violation of New
  21

  22              Mexico’s Unfair Practices Act, N.M. Stat. Ann. § 57-12-1, et seq.

  23         z.   North Carolina: Defendant’s practices were and are in violation of North
  24
                  Carolina’s Unfair Deceptive Trade Practices Act, N.C. Gen. Stat. Ann. § 75-
  25
                  1, et seq.
  26

  27

  28
                                                38
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 39 of 45 Page ID #:39



             aa. North Dakota: Defendant’s practices were and are in violation of North
   1

   2               Dakota’s Unlawful Sales or Advertising Practices law, N.D. Cent. Code §
   3               51-15-01, et seq.
   4
             bb. Ohio: Defendant’s practices were and are in violation of Ohio’s Consumer
   5
                   Sales Practices Act, Ohio Rev. Code Ann. § 1345.01, et seq. and Ohio’s
   6

   7               Deceptive Trade Practices Act. Ohio Rev. Code Ann. § 4165.01, et seq.
   8         cc. Oklahoma: Defendant’s practices were and are in violation of Oklahoma’s
   9
                   Consumer Protection Act, Okla. Stat. Ann. tit. 15 § 751, et seq., and
  10
                   Oklahoma’s Deceptive Trade Practices Act, Okla. Stat. Ann. tit. 78 § 51, et
  11

  12               seq.

  13         dd. Oregon: Defendant’s practices were and are in violation of Oregon’s
  14
                   Unlawful Trade Practices law, Or. Rev. Stat. § 646.605, et seq.
  15
             ee. Pennsylvania: Defendant’s practices were and are in violation of
  16

  17               Pennsylvania’s Unfair Trade Practice and Consumer Protection Law, 73 Pa.

  18               Stat. Ann. § 201-1, et seq.
  19
             ff.   Rhode Island: Defendant’s practices were and are in violation of Rhode
  20
                   Island’s Deceptive Trade Practices Act, R.I. Gen. Laws § 6-13.1-1, et seq.
  21

  22         gg. South Dakota: Defendant’s practices were and are in violation of South

  23               Dakota’s Deceptive Trade Practices and Consumer Protection Act, S.D.
  24
                   Codified Laws § 37-24-1, et seq.
  25

  26

  27

  28
                                                  39
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 40 of 45 Page ID #:40



                hh. Texas: Defendant’s practices were and are in violation of Texas’ Deceptive
   1

   2                  Trade Practices Consumer Protection Act, Tex. Bus. & Com. Code Ann. §
   3                  17.41, et seq.
   4
                ii.   Utah: Defendant’s practices were and are in violation of Utah’s Consumer
   5
                      Sales Practices Act, Utah Code Ann. § 13-11-1, et seq., and Utah’s Truth in
   6

   7                  Advertising Law, Utah Code Ann. § 13-11a-1, et seq.
   8            jj.   Vermont: Defendant’s practices were and are in violation of Vermont’s
   9
                      Consumer Fraud Act, Vt. Stat. Ann. tit. 9 § 2451, et seq.
  10
                kk. Washington: Defendant’s practices were and are in violation of
  11

  12                  Washington Consumer Protection Act, Wash. Rev. Code Ann. § 19.86, et

  13                  seq.
  14
                ll.   West Virginia: Defendant’s practices were and are in violation of West
  15
                      Virginia’s Consumer Credit and Protection Act, W. Va. Code § 46A-6-101,
  16

  17                  et seq.

  18            mm. Wisconsin: Defendant’s practices were and are in violation of Wisconsin’s
  19
                      Consumer Act, Wis. Stat. §421.101, et seq.
  20
                nn. Wyoming: Defendant’s practices were and are in violation of Wyoming’s
  21

  22                  Consumer Protection Act, Wyo. Stat. Ann. §40-12-101, et seq.

  23          125.    Defendant violated the aforementioned states’ unfair and deceptive acts and
  24
       practices laws by representing that the Products are “Natural”.
  25
              126.    Contrary to Defendant’s representations, the Products are not “Natural”.
  26

  27

  28
                                                     40
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 41 of 45 Page ID #:41



              127.   Defendant’s misrepresentations were material to Plaintiffs’ and Class
   1

   2 Members’ decision to pay a premium for the Products.

   3          128.   Defendant made its untrue and/or misleading statements and representations
   4
       willfully, wantonly, and with reckless disregard for the truth.
   5
              129.   As a result of Defendant’s violations of the aforementioned states’ unfair
   6

   7 and deceptive practices laws, Plaintiffs and Class Members paid a premium for the

   8 Products.
   9
              130.   As a result of Defendant’s violations, Defendant has been unjustly enriched.
  10
              131.   Pursuant to the aforementioned states’ unfair and deceptive practices laws,
  11

  12 Plaintiffs and Class Members are entitled to recover compensatory damages, restitution,

  13 punitive and special damages including but not limited to treble damages, reasonable

  14
       attorneys’ fees and costs and other injunctive or declaratory relief as deemed appropriate
  15
       or permitted pursuant to the relevant law.
  16

  17                                NINTH CAUSE OF ACTION
                BREACH OF IMPLIED WARRANTY OF MERCHANTIBILITY
  18                  (Brought by Plaintiffs on Behalf of all Class Members)
  19          132. Plaintiffs repeat and reallege each and every allegation contained in the

  20 foregoing paragraphs as if fully set forth herein.

  21          133.   Defendant is in the business of manufacturing, distributing, marketing and
  22
       advertising the above listed products.
  23

  24
              134.   Under the Uniform Commercial Code’s implied warranty of merchantability,

  25 the Defendant warranted to Plaintiffs and Class Members that the Products are “Natural”.

  26          135.   Defendant breached the implied warranty of merchantability in that
  27
       Defendant’s Products’ ingredients deviate from the label and product description, and
  28
                                                     41
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 42 of 45 Page ID #:42



       reasonable consumers expecting a product that conforms to its label would not accept the
   1

   2 Defendant’s Products if they knew that they actually contained synthetic ingredients, that

   3 are not “Natural”.

   4
              136.   Within a reasonable amount of time after the Plaintiffs discovered that the
   5
       Products contain synthetic ingredients, Plaintiffs notified the Defendant of such breach.
   6

   7          137.   The inability of the Defendant’s Products to meet the label description was
   8 wholly due to the Defendant’s fault and without Plaintiffs’ or Class Members’ fault or
   9
       neglect, and was solely due to the Defendant’s manufacture and distribution of the
  10
       Products to the public.
  11

  12          138.   As a result of the foregoing, Plaintiffs and Class Members have been

  13 damaged in the amount paid for the Defendant’s Products, together with interest thereon

  14
       from the date of purchase.
  15
                             TENTH CAUSE OF ACTION
  16
           BREACH OF IMPLIED WARRANTY OF FITNESS FOR A PARTICULAR
  17                                    PURPOSE
                  (Brought by Plaintiffs on Behalf of All Class Members)
  18

  19          139.   Plaintiffs repeat and reallege each and every allegation contained in the

  20 foregoing paragraphs as if fully set forth herein.

  21          140.   Defendant knew or had reason to know that the Plaintiffs and other Class
  22
       Members were buying its Products with the specific purpose of buying products that
  23

  24
       contained exclusively natural ingredients.

  25          141.   Plaintiffs and the other Class Members, intending to use wholly natural
  26 products, relied on the Defendant in selecting its Products to fit their specific intended use.

  27

  28
                                                    42
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 43 of 45 Page ID #:43



             142.   Defendant held themselves out as having particular knowledge of the
   1

   2 Defendant’s Products’ ingredients.

   3         143.   Plaintiffs’ and Class Members’ reliance on Defendant in selecting
   4
       Defendant’s Products to fit its particular purpose was reasonable given Defendant’s claims
   5
       and representations in its advertising, packaging and labeling concerning the Products’
   6

   7 ingredients.

   8         144.    Plaintiffs’ and the other Class Members’ reliance on Defendant in selecting
   9
       Defendant’s Products to fit their particular use was reasonable given Defendant’s
  10
       particular knowledge of the Products it manufactures and distributes.
  11

  12         145.   As a result of the foregoing, Plaintiffs and Class Members have been

  13 damaged in the amount paid for the Defendant’s Products, together with interest thereon

  14
       from the date of purchase.
  15
                                            JURY DEMAND
  16

  17         Plaintiffs demand a trial by jury on all issues.

  18 WHEREFORE, Plaintiffs, on behalf of themselves and the Class, pray for judgment as

  19
       follows:
  20
          (a) Declaring this action to be a proper class action and certifying Plaintiffs as the
  21

  22         representatives of the Class under Rule 23 of the FRCP; and Plaintiffs Prudencio

  23         and Quintero as representatives of the California Subclass; and Plaintiff Rivera as
  24
             the representative of the New York Subclass.
  25

  26

  27

  28
                                                     43
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 44 of 45 Page ID #:44



          (b) Entering preliminary and permanent injunctive relief against Defendant, directing
   1

   2         Defendant to correct its practices and to comply consumer protection laws
   3         nationwide, including California and New York consumer protection laws;
   4
          (c) Awarding monetary, compensatory, statutory and punitive damages;
   5
          (d) Awarding Plaintiffs and Class Members their costs and expenses incurred in this
   6

   7         action, including reasonable allowance of fees for Plaintiffs’ attorneys and experts,
   8         and reimbursement of Plaintiffs’ expenses; and
   9
          (e) Granting such other and further relief as the Court may deem just and proper.
  10

  11
       Dated: February 20, 2018
  12                                    SHOOP A PROFESSIONAL LAW CORPORATION
  13
                                                         David R. Shoop /s/
  14                                     By: __________________________________________
                                                          David R. Shoop, Esq., SBN 220576
  15
                                                          Thomas S. Alch, Esq., SBN 136860
  16                                                                    350 S. Beverly Drive
                                                                                    Suite 330
  17                                                                Beverly Hills, CA 90212
  18                                                                     Tel: (310) 277-1700
                                                        THE SULTZER LAW GROUP P.C.
  19
                                                             Jason P. Sultzer /s/
  20
                                                   By: __________________________________
  21                                                                       Jason P. Sultzer, Esq.
                                                                             Joseph Lipari, Esq.
  22                                                                       Adam Gonnelli, Esq.
  23                                                           85 Civic Center Plaza, Suite 104
                                                                       Poughkeepsie, NY 12601
  24                                                                        Tel: (845) 483-7100
                                                                            Fax: (888) 749-7747
  25
                                                              sultzerj@thesultzerlawgroup.com
  26

  27

  28
                                                   44
Case 2:18-cv-01469-AB-RAO Document 1 Filed 02/22/18 Page 45 of 45 Page ID #:45



                                                         LEEDS BROWN LAW, P.C.
   1

   2                                                   Jeffrey Brown /s/
                                           By: __________________________________
   3                                                               Jeffrey Brown, Esq.
   4                                                  One Old Country Road, Suite 347
                                                                Carle Place, NY 11514
   5                                                              Tel: (516) 873-9550
                                                          jbrown@leedsbrownlaw.com
   6

   7

   8
   9

  10

  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28
                                           45
